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    Counsel to Patrick Daugherty

                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

                                                                 §
    In re:                                                       § Chapter 11
                                                                 §
    HIGHLAND CAPITAL MANAGEMENT, L.P.,1                          § Case No. 19-34054 (SGJ)
                                                                 §
                     Reorganized Debtor.                         §
                                                                 §

                    PATRICK DAUGHERTY’S WITNESS AND EXHIBIT LIST
                  FOR HEARING SCHEDULED FOR JUNE 25, 2025 AT 9:30 A.M.

             Patrick Daugherty, (“Daugherty”) hereby files this Witness and Exhibit List for the

hearing scheduled for June 25, 2025, at 9:30 a.m. (Central Time) in connection with Highland

Capital Management, L.P.’s Motion for Entry of an Order Pursuant to Bankruptcy Rule 9019 and 11

USC s 363 Approving Settlement with the HMIT Entities [Docket No. 4216] and Patrick Daugherty’s

Objection to same [Docket No. 4229].




1
     Highland’s last four digits of its taxpayer identification number are (8357). The headquarters and service address
for Highland is 100 Crescent Court, Suite 1850, Dallas, TX 75201.


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                                                  WITNESSES

         Daugherty may call one or more of the following witnesses at the hearing:

         1. Patrick Daugherty;

         2. James Seery2;

         3. Mark Patrick3;

         4. David Klos (by deposition excerpts)4;

         5. Any witnesses called by any other party; and

         6. Any witnesses necessary for impeachment, depending upon the witnesses and
            evidence presented by other parties.

         Daugherty reserves the right to cross-examine any witness called by any other party.

                                                    EXHIBITS

         Daugherty designates the following exhibits:

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    EXHIBIT                                                                     R         J    I
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                                                                                  D
                                                                                               D
                  Settlement Agreement between Highland
                  Capital Management, L.P. and Patrick
      PD-1
                  Daugherty.




2
    Highland’s counsel has previously represented in writing, and in their witness list, that Highland will be calling
Mr. Seery to testify in support of the Motion.
3
    The HMIT Entities’ counsel has represented in writing that Mr. Patrick will be in attendance at the hearing.
4
    The final transcript of Mr. Klos’ deposition has not been released by the court reporter who transcribed the
deposition as of the date/time of this filing. Daugherty will supplement the excerpts once the transcript is available.

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                 Complaint for (1) Disallowance of Claim No.
                 205 In Its Entirety, (2) Estimation of Claim No.
                 205 For Allowance Purposes, Or (3)
                 Subordination of Any Allowed Portion of
      PD-2       Claim No. 205 of Patrick Hagaman Daugherty
                 in Adversary Proceeding No. 25-03055-sgj,
                 Highland Capital Management, L.P. v. Patrick
                 Hagaman Daugherty

                 Fifth Amended Plan of Reorganization of
                 Highland Capital Management, L.P. (as
      PD-3
                 Modified)

                 Order (I) Confirming the Fifth Amended Plan
                 of Reorganization of Highland Capital
      PD-4       Management, L.P. (As Modified) and (II)
                 Granting Related Relief

                 Claimant Trust Agreement
      PD-5
                 Motion to Dismiss in Adversary Proceeding
                 No. 25-03055-sgj, Highland Capital
     PD-6        Management, L.P. v. Patrick Hagaman
                 Daugherty

                 May 20, 2025 email from Gregory Demo to
                 Drew York and John Morris, Subject: Highland
     PD-7
                 – Eighth Distribution Notice

                 Nov. 20, 2024 IRS Letter to P. Daugherty re
     PD-8        Notification concerning Highland Capital
                 Management
                 Amended Complaint and Objection to Claims
                 in Marc S. Kirschner, as Litigation Trustee of
      PD-9       the Litigation Sub-Trust v. James Dondero et
                 al., Adversary No. 21-03076-sgj




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                 Complaint in Highland Employee Retention
                 Assets LLC v. James Dondero et al., Case No.
      PD-10
                 Civ. A. No. 3:24-cv-00498-k

                 Email from P. Daugherty to M Kirschner dated
      PD-11      August 20, 2021; Subject: Highland History –
                 Part 1
                 Email from P. Daugherty to M. Kirscher dated
                 August 20, 2021; Subject: Highland History –
      PD-12
                 Part 2 Okada and Highland Capital
                 Management Services, Inc?
                 Email from P. Daugherty to M. Kirschner dated
                 August 20, 2021; Subject: Highland History –
      PD-13
                 Prt 3 Supplement with Safety-kleen S-1 and 2nd
                 Governance Re Bermuda Entity
                 Email from P. Daugherty to M. Kirschner dated
                 August 20, 2021; Subject: Highland History –
                 Part 4 NexPoint Credit Strategies Fund filing
      PD-14
                 that shows ownership including Governance
                 Re, PCMG, Highland Capital Management
                 Services, etc.
                 Email from P. Daugherty to M. Kirschner dated
                 August 20, 2021; Subject: Brad Ross –
      PD-15
                 Anonymous threats from HCM sources (see
                 bottom)
                 Email from P. Daugherty to M. Kirschner dated
      PD-16      August 23, 2021; Subject: How does
                 Highland’s Charitable DAF Work? – Part 1
                 Email from P. Daugherty to M. Kirschner dated
      PD-17      August 23, 2021; Subject: How does the
                 Charitable DAF work? Part 2
                 Email from P. Daugherty to M. Kirschner dated
      PD-18      August 23, 2021; Subject: How does
                 Highland’s Charitable DAF work? Part 3
                 Email from P. Daugherty to M. Kirschner dated
      PD-19      August 23, 2021; Subject: How does
                 Highland’s Charitable DAF work? Part 4



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                 Email from P. Daugherty to P. Montgomery et
      PD-20      al. dated January 5, 2022; Subject: CPCM, LLC
                 – another avatar for Scott Ellington
                 Email from P. Daugherty to M. Clemente dated
                 February 18, 2021; Subject: Fw: Sentinel
      PD-21
                 transactions with Highland Capital re transfer of
                 shares in NexPoint
                 Email from P. Daugherty to M. Clemente dated
                 February 21, 2021; Subject: Fw: SAS Platform
      PD-22
                 – Sentinel – Patton – Nimitz – Dondero –
                 Ellington connection [quite the web] – Part 1
                 Email from P. Daugherty to P. Montgomery et
                 al. dated October 1, 2021; Subject: Fw: Part 2 –
      PD-23      Ellington creates SPVs in the Caymans to
                 receive Barclays units; while John Cullinane
                 buys Dondero’s divorce claim against his wife
                 Email from P. Daugherty to M. Clemente dated
                 July 2, 2021; Subject: Fw: Appendix to Part 3
      PD-24
                 (due to file size limitations) – Summit-NexPoint
                 et al
                 Email from P. Daugherty to M. Clemente dated
                 July 11, 2021; Subject: Fw: Part 4 – DiOrio-
      PD-25
                 Ellington-Family and Friends: An empire of
                 their own
                 Email from P. Daugherty to P. Montgomery et
                 al. dated December 17, 2021; Subject: Fw:
      PD-26
                 Sentinel transactions with Highland Capital re
                 transfer of shares in NexPoint
                 Email from P. Daugherty to M. Clemente dated
                 July 1, 2021; Subject: Fw: Part 3 – Dondero-
      PD-27
                 Summit-Cullinane-Egglishaw-Ellington-
                 DiOrio-Walkers-Maples et al
                 Email from P. Montgomery to P. Daugherty et
                 al. dated December 17, 2021; Subject: RE:
      PD-28
                 CPCM – Highgate Consulting – Skyview -
                 Ellington




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                 Email from P. Montgomery to P. Daugherty
                 dated October 1, 2021; Subject: RE: Highland
      PD-29
                 background reading – additions for Crusader
                 Redeemer Committee
                 Email from P. Montgomery to P. Daugherty
                 dated September 29, 2021; Subject: RE:
      PD-30
                 Dondero-Highland-NexBank: alter ego
                 evidence and year-end tax scheming
                 Email from P. Daugherty to P. Montgomery
                 and M. Clemente dated July 30, 2021; Subject:
      PD-31
                 Re: Rule 2004 Brief – Where is Okada and
                 Highland Capital Management Services, Inc?
                 Email from P. Daugherty to P. Montgomery et
                 al. dated October 1, 2021; Subject: Fw: Part 3 –
      PD-32
                 Dondero-Summit-Cullinane-Egglishaw-
                 Ellington-DiOrio-Walkers-Maples et al
                 Email from P. Montgomery to P. Daugherty
                 dated September 21, 2021; Subject: RE:
      PD-33
                 Highland Capital Management LP Asset
                 Holdings – as of May 2009
                 Email from P. Montgomery to P. Daugherty
                 dated September 21, 2021; Subject: FW:
      PD-34
                 Novation of the Highland Credit Strategies
                 Fund management contract
                 Email from P. Montgomery to P. Daugherty
      PD-35      dated September 10, 2021; Subject: RE: Are
                 you available to chat?
                 Email from P. Montgomery to P. Daugherty
      PD-36      dated August 31, 2021; Subject: RE: Highland
                 Regroup call
                 Highland Capital Management, L.P., Highland
                 Claimant Trust, and James P. Seery, Jr.’s Joint
                 Opposition to Hunter Mountain Investment
      PD-37
                 Trust’s Motion for Leave to File Verified
                 Adversary Proceeding




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                 Memorandum Opinion and Order Pursuant to
                 Plan “Gatekeeper Provision” and Pre-
                 Confirmation “Gatekeeper Orders”: Denying
      PD-38      Hunter Mountain Investment Trust’s
                 Emergency Motion for Leave to File Verified
                 Adversary Proceeding

                 Plaintiff’s First Amended Original Complaint in
                 Highland Employee Retention Assets LLC v.
      PD-39      James Dondero et al., Case No. Civ. A. No.
                 3:24-cv-00498-k

                 Plaintiff Highland Employee Retention Assets
                 LLC’s Omnibus Response to the Highland
                 Defendants, Outside Attorneys Defendants and
                 Trustee Defendants’ Motions to Dismiss and
      PD-40      Memorandum in Support in Highland
                 Employee Retention Assets LLC v. James
                 Dondero et al., Case No. Civ. A. No. 3:24-cv-
                 00498-k

                 Exhibit 6 to Debtor’s Witness and Exhibit List
                 with Respect to Evidentiary Hearing to be Held
      PD-41
                 on June 8, 2021

                 Defendant’s Original Answer, Counterclaim
                 and Third-Party Petition in Highland Capital
                 Management, L.P. v. Patrick Daugherty, Cause
      PD-42
                 No. DC-12-04005 (68th District Court, Dallas
                 County, Texas)

                 Any document entered or filed in the Debtor’s
      PD-        chapter 11 bankruptcy case, including any
                 exhibits thereto
                 Any exhibits identified by or offered by any
      PD-
                 other party at the hearing
                 Any exhibits offered for impeachment and/or
      PD-
                 rebuttal purposes

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         Daugherty reserves the right to supplement or amend this Witness and Exhibit List any

time prior to the hearing. This Witness and Exhibit List is not intended to limit Daugherty at the

hearing or to imply that Daugherty may not seek introduction of evidence that is not on this list.

Daugherty reserves the right to use any of the exhibits designated by any other party in this case.


         Respectfully submitted this 23rd day of June, 2025.


                                                      GRAY REED

                                                      By: /s/ Andrew K. York
                                                          Jason S. Brookner
                                                          Texas Bar No. 24033684
                                                          Andrew K. York
                                                          Texas Bar No. 24051554
                                                          Joshua D. Smeltzer
                                                          Texas Bar No. 24113859
                                                          Drake M. Rayshell
                                                          Texas Bar No. 24118507

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                                                      Facsimile: (214) 953-1332
                                                      Email:        jbrookner@grayreed.com
                                                                    dyork@grayreed.com
                                                                    jsmeltzer@grayreed.com
                                                                    draysehll@grayreed.com

                                                      Counsel to Patrick Daugherty


                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and accurate copy of the foregoing instrument was served on all
Parties or counsel of record herein on this 23rd day of June 2025, via the CM/ECF system and/or
email.


                                              /s/ Andrew K. York
                                              ANDREW K. YORK



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4931-5856-6735
